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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION



CHARLOTTE ALVARADO,JAMIE
DUHRKOFF,KANDI WILSON,and
NAOMI OFFIELD,Individually, and on
Behalf of All Others Similarly Situated,

        Plaintiff,                               CASE NO.6:15-cv-1420-0r1-40-KRS

vs.                                              JURY TRIAL DEMANDED

ROBO ENTERPRISES,INC., a Florida
corporation, and CHARLES JULIAN,
individually,

        Defendants.



                AMENDED CLASS/COLLECTIVE ACTION COMPLAINT

        Come now the Plaintiffs, CHARLOTTE ALVARADO (Alvarado), JAMIE DUHRKOFF

(Duhrkoff), KANDI WILSON (Wilson) and NAOMI OFFIELD (Offield), individually and on

behalf of all other similarly situated, and sues the Defendants ROBO ENTERPRISES, INC., a

Florida corporation, and CHARLES JULIAN,individually as follows:

        1.     Congress designed the Fair Labor Standards Act of 1938 ("FLSA") to remedy

situations "detrimental to the maintenance of the minimum standard of living necessary for

health, efficiency, and general well-being of workers." 29 U.S.C. § 202(a). To achieve this

broad remedial purpose, the FLSA establishes minimum wage and overtime requirements for

covered employees. 29 U.S.C. §§ 206, 207. These provisions, coupled with an effective

integrated cause of action within the FLSA, prevent employers from pilfering the wages




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rightfully earned by their employees. See, Billingsley v. Citi Trends, Inc., 13-12561, 2014 WL

 1199501 (11th Cir. Mar. 25, 2014).

        2.       This case implicates an adult entertainment club which goes by the trade name of

"Bare Assets Adult Entertainment Club." The legal entity and employers implicated are, Robo

Enterprises, Inc., a Florida corporation ("Bare Assets") and Charles Julian, Individually

("Defendants").
        3.       Defendants have a longstanding policy of misclassifying their employees as

independent contractors and/or licensees.

        4.       Defendants required and/or permitted Plaintiffs Charlotte Alvarado, Jamie

Duhrkoff, Kandi Wilson and Naomi Offield ("Plaintiffs") to work as exotic dancers and massage

girls (collectively entertainers) at their adult entertainment club for up to and in excess of forty

(40) hours per week, but refused to compensate them at the applicable minimum wage and

overtime rate.     In fact, Defendants refused to compensate Plaintiffs at all for the hours they

worked. Plaintiffs' only compensation was in the form of tips from club patrons.

        5.       Defendants' conduct violates the FLSA, which requires non-exempt employees,

such as Plaintiffs, to be compensated for their overtime work at a rate of one and one-half times

their regular rate of pay. See 29 U.S.C. § 207(a).

        6.       Furthermore, Defendants' practice of failing to pay tipped employees pursuant to

29 U.S.C. § 203(m), violates the FLSA's minimum wage provision as does Defendants' practice

of siphoning away those tips to distribute to non-tip eligible employees. See 29 U.S.C. §§ 203,

206.

        7.       Plaintiffs bring a collective action to recover the unpaid wages owed to them and

all other similarly situated employees, current and former, of Defendants who worked at Bare

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Assets in Melbourne, Florida, at any time during the five year period before this Amended

Complaint was filed up to the present("FLSA Class Members"). These Class Members should

be informed of the pendency of this action and apprised of their rights to join in the manner

envisioned by Hoffman-La Roche Inc. v. Sperling, 493 U.S. 165 (1989) and its progeny.

        8.     Plaintiffs further complain on behalf of themselves, and a class of other similarly

situated current and foliner entertainer employees of the Defendants who worked in Florida,

pursuant to Fed.R.Civ.P.23, that they are entitled to back wages from Defendants for

hours/weeks of work for which they did not receive at least the Florida minimum wage, in

violation of Article X, Section 24 of the Florida Constitution ("Florida Minimum Wage Claims").

                    SUBJECT MATTER JURISDICTION AND VENUE

        9.     This Court has jurisdiction over the subject matter of this action under 29 U.S.C.

§ 216(b) and 28 U.S.C. § 1331.

        10.    This Court has the authority to grant declaratory relief pursuant to the FLSA and

the Federal Declaratory Judgment Act("DJA"), 28 U.S.C. §§ 2201-02.

        11.    This Court has jurisdiction over the Florida Minimum Wage Claims pursuant to 28

U.S.C. §1367, because the acts and omissions that give rise to Plaintiffs' FLSA claims are the

same acts and omissions that give rise to Plaintiffs' Florida Minimum Wage Claims.

        12.    Venue is proper in the Middle District of Florida because a substantial portion of

the events forming the basis of this suit occurred in this District, as the Defendants' club is

located in this District. In particular, the headquarters and principal place of business of ROBO

ENTERPRISES, INC. is located at 4020 West New Haven Avenue, Melbourne, Florida 32904.

Also, at all times material hereto Plaintiffs worked at the Defendants' club located at 4020 New

Haven Avenue, Melbourne, Florida 32904.

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                        PARTIES AND PERSONAL JURISDICTION

        13.    Plaintiff Alvarado is an individual residing in Orange County, Florida. Plaintiffs

written consent is attached hereto as Exhibit A.

        14.    Plaintiff Duhrkoff is an individual residing in Brevard County, Florida. Plaintiffs

written consent is attached hereto as Exhibit B.

        15.    Plaintiff Wilson is an individual residing in Brevard County, Florida. Plaintiffs

written consent is attached hereto as Exhibit C.

        16.    Plaintiff Offield is an individual residing in Orange County, Florida. Plaintiffs

written consent is attached hereto as Exhibit D.

        17.    The FLSA Class Members are current and former entertainers who worked at

Bare Assets at any time during the three (3) years prior to the filing of this Amended Complaint

up to the present.

        18.    The Florida Class Members are current and former entertainers who worked at

Bare Assets at any time during the five (5) years before this Amended Complaint was filed up to

the present.

        19.    Defendant Robo Enterprises, Inc. d/b/a Bare Assets is a domestic corporation

doing business in Florida for the purpose of accumulating monetary profit. This Court has

personal jurisdiction over this Defendant because it is a citizen of Florida.

        20.    Defendant Charles Julian is an individual residing in Florida. This Court has

personal jurisdiction over this Defendant because he is a citizen conducting business in Brevard

County, Florida and upon information and belief is domiciled in Brevard County, Florida.

                                       FLSA COVERAGE



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        21.      In an FLSA case, the following elements must be met: "(1) [plaintiff] is

employed by the defendant, (2) the defendant engaged in interstate commerce, and (3) the

defendant failed to pay [plaintiff] minimum or overtime wages." Freeman v. Key Largo

Volunteer Fire & Rescue Dept., Inc., 494 Fed. Appx. 940, 942(11th Cir. 2012) cert. denied, 134

S. Ct. 62,(U.S. 2013).

                                Employer/Employee Relationship

        22.      "To be 'employed' includes when an employer `suffer[s] or permit[s] [the

employee] to work.'" Id. at 942 (citing 29 U.S.C. § 203(g)). "To determine if an individual is an

employee, we look at the economic reality of all the circumstances' surrounding the activity."

Id. (citing Brouwer, 139 F.3d at 819). "We refer to this test as the 'economic reality' test." Id.

(citing Villarreal v. Woodham, 113 F.3d 202, 205 (11th Cir.1997)). "The touchstone of the

economic reality test is the alleged employee's economic dependence on the employer." Id.

        23.      Here, Defendants had the power to hire and fire Plaintiffs and class members.

        24.      Defendants controlled Plaintiffs' work schedule by scheduling Plaintiffs and other

entertainers to work certain days and certain shifts.

        25.      Defendants required Plaintiffs and other entertainers to work a certain number of

days during the week.

        26.      Defendants provided training, if needed, through an orientation program that

taught the entertainers "everything [they] need to know."

        27.      Defendants controlled the clothing to be worn by Plaintiffs and other entertainers

while at work.

        28.      Defendants required Plaintiffs and other entertainers to promote their services to

club customers and to sell promotional items including items bearing the Defendants' logo.

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         29.      Defendants determined the rate and the method of payment of all entertainers

including Plaintiffs. Defendants set the price for their customers to pay entertainers for "lap

dances","semi-private" dances and "private" dances.

         30.      Defendants required the Plaintiff and other entertainers to abide by their "house

rules" which included rules regarding their dress code, the manner in which they conducted

themselves while working and other job related activities.

         31.      Additionally, Defendants required Plaintiffs and all other entertainers to pay fees

depending on the day and shift they worked. Plaintiffs and all other entertainers had to tip out

certain employees at the end of their shift including, but not limited to, the DJ, security, house

mom,and the club.

         32.      Defendants controlled the amount and manner in which the Plaintiffs and other

entertainers were paid through "performance fees" determined solely at the discretion of the

Defendants.

         33.      Entertainers are an integral part of Defendants' strip club.

         34.      The job duties of Plaintiffs and other entertainers consisted of dancing in

designated areas and performing dances for Defendants' customers at the club. These job duties

require little to no ski11. 1




I See, Freund v. Hi-Tech Satellite, Inc., 185 Fed. Appx. 782, 783 (11th Cir. 2006)([C]ourts must determine whether,
as a matter of economic realit[y], an individual is an employee or an independent contractor in business for himself.
Several factors guide this inquiry: (1) the nature and degree of the alleged employer's control as to the manner in
which the work is to be performed; (2) the alleged employee's opportunity for profit or loss depending upon his
managerial skill; (3) the alleged employee's investment in equipment or materials required for his task, or his
employment of workers;(4) whether the service rendered requires a special skill;(5) the degree of permanency and
duration of the working relationship; (6) the extent to which the service rendered is an integral part of the alleged
employer's business.") (internal citations omitted); see also, Clincy v. Galardi S. Enterprises, Inc., 808 F. Supp. 2d



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        35.     Defendants maintained records regarding the time Plaintiffs and all other

entertainers arrived and left the club.

        36.     At all material times, Defendants have been employers within the meaning of

§ 3(d) of the FLSA. 29 U.S.C. § 203(d).

        37.     Moreover, the Fair Labor Standards Act ("FLSA") defines the term "employer"

broadly to include "any person acting directly or indirectly in the interest of an employer in

relation to any employee." 29 U.S.C. § 203(d).

        38.     The statutory definition of "employer" includes corporate officers, participating

shareholders, supervisors, managers, or other employees where that individual exercises some

supervisory authority over employees and is responsible in whole or in part for the alleged

violation. See id.; Reich v. Circle C. Investments, Inc., 998 F.2d 324, 329 (5t1 Cir. 1993);

Donovan v. Grim Hotel Co., 747 F.2d 966, 971-72(5th Cir. 1984).

        39.     Defendant Charles Julian is the President of Robo Enterprises, Inc. d/b/a Bare

Assets. Upon information and belief Charles Julian is the sole shareholder of Robo Enterprises,

Inc. d/b/a Bare Assets.

        40.     Defendants Charles Julian is involved in the day-to-day business operation of

Robo Enterprises, Inc. d/b/a Bare Assets.

        41.     Defendant Charles Julian has responsibility for the supervision of the entertainers

at Robo Enterprises, Inc. d/b/a Bare Assets.




1326, 1343 (N.D. Ga. 2011) (applying economic reality test and finding exotic dancers were employees not
independent contractors).




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        42.    Defendant Charles Julian is responsible for the compensation or lack thereof paid

to entertainers at Robo Enterprises, Inc. d/b/a Bare Assets.

        43.    Defendant Charles Julian has the authority to hire and fire employees, the

authority to direct and supervise the work of employees, the authority to sign on the business's

checking accounts, including payroll accounts, and the authority to make decisions regarding

employee compensation and capital expenditures.

        44.    Additionally, Defendant Charles Julian is responsible for the day-to-day affairs of

the club. In particular, they were responsible for determining whether the club complied with the

Fair Labor Standards Act.

        45.    Defendant Charles Julian controlled the nature, pay structure, and employment

relationship of the Plaintiffs and Class Members.

        46.    As such, Defendant Charles Julian is the employer of the Plaintiffs and Class

Members within the meaning of § 3(d) of the FLSA, and is jointly and severally liable for all

damages.

                                      Interstate Commerce

        47.    "The Fair Labor Standards Act (the "FLSA"), 29 U.S.C. § 207(a)(1), requires an

employer to pay overtime compensation to an hourly worker if the employee can establish

individual coverage or enterprise coverage." Silver v. Dr. Neal Krouse, D.O., P.A., 06-60634-

CIV, 2007 WL 4098879 *2 (S.D. Fla. Nov. 16, 2007) (citing Thorne v. All Restoration Svcs.,

Inc., 448 F.3d 1264, 1265 (11th Cir.2006)). "To qualify for enterprise coverage, Defendants

must `ha[ve] employees engaged in commerce or in the production of goods for commerce, or[]

ha[ve] employees handling, selling, or otherwise working on goods or materials that have been

moved in or produced for commerce by any person; and is an enterprise whose annual gross

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volume of sales made or business done is not less than $500,000f Id. (citing 29 U.S.C. §

203(s)(1)(A)(i) and (ii)).      "The phase 'engaged in commerce' is interpreted broadly and

liberally." Id. (citing Alonso v. Garcia, 147 Fed. Appx. 815, 816 (1 lth Cir. 2005)).

         48.   At all material times, Defendants have been an enterprise within the meaning of

3(r) of the FLSA. 29 U.S.C. § 203(r).

         49.   At all material times, Defendants have been an enterprise in commerce or in the

production of goods for commerce within the meaning of 3(s)(1) of the FLSA because they have

had employees engaged in commerce. 29 U.S.C. § 203(s)(1).

         50.   Specifically, Defendants' employees have sold goods—such as alcoholic

beverages—that have been moved or produced in interstate commerce to Defendants' patrons.

Additionally, Defendants' employees, including Plaintiff, have handled materials that have been

moved or produced in interstate commerce, which were used in the course of Defendants'

business operations.

         51.   Defendants advertise on the internet, process credit cards from out of state

patrons, communicate via mail, email, and telephone with patrons outside of the state of Florida,

and sell their merchandise across state lines.

         52.   Furthermore, Defendants have had, and continue to have, an annual gross

business volume in excess of the statutory standard.

         53.   At all material times, each Plaintiff was an individual employee who engaged in

commerce or in the production of goods for commerce as required by 29 USC § 206-207.

                                         Wale Violations

         54.   Defendants misclassify Plaintiffs and all other entertainers as independent

contractors and/or licensees.

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        55.    Defendants failed to pay Plaintiffs and all other entertainers they hire any

compensation whatsoever.

        56.    The money Plaintiffs received were tips directly received from Defendants'

customers.

        57.    Defendants siphoned Plaintiffs' and all other entertainers' tips by requiring them

to share their tips with other employees who are not eligible to participate in a tip pool.

        58.    Defendants siphoned Plaintiffs' and all other entertainers' tips by requiring them

to pay fees, including house and or license fees, leave early fees, and credit card fees from their

tips.

                                               FACTS

        59.    Plaintiffs and Class Members have all been victimized by Defendants' common

policy and plan to violate their rights under the FLSA by denying them minimum wage, proper

overtime, and the tips they lawfully earned.

        60.    Defendants operate an adult entertainment club at 4020 New Haven Avenue,

Melbourne, Florida under the name of"Bare Assets."

        61.    Defendants employ entertainers at Bare Assets.

        62.    Plaintiffs are former entertainers at Bare Assets.

        63.    Plaintiffs worked on a regular basis for Bare Assets.

        64.    Plaintiffs have first-hand personal knowledge of the pay violations at Bare Assets.

        65.    The entertainers at Bare Assets are compensated exclusively through tips from

Defendants' customers.

        66.    Defendants did not pay the entertainers compensation for any hours worked at

their establishments.

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        67.    Defendants charged the entertainers certain fees per shift worked.

        68.    Defendants charged the entertainers a fee each day when they arrived at work.

        69.    Defendants also required the entertainers to share their tips with employees who

do not customarily and regularly receive tips, including the disc jockeys, security and the

managers.

        70.    Defendants      illegally    classified    the    entertainers    as       independent

contractors/licensees. However, at all times, the entertainers were employees of Defendants as

that term is defined by the FLSA, Florida law, and relevant case law.

        71.    Defendants hired, fired and supervised the entertainers. Defendants also set the

schedule for the entertainers. Defendants controlled the details of the entertainers' jobs, including

setting the prices to charge customers for dances and imposing limitations on how to interact

with the clubs' customers.

        72.    Defendants also controlled the entertainers' appearances with respect to their

attire and makeup.

        73.    Defendants disciplined the entertainers for not following club rules.

        74.    Defendants tracked the time and days the entertainers worked just as is common

for typical employer-employee relationships.

        75.    In addition, Defendants instructed the entertainers about when, where, and how

the entertainers were to perfoini their work.

        76.    The following further facts demonstrate the entertainers' status as employees:

               a)      Defendants had the sole right to hire and fire the entertainers;

               b)      Defendants require dancers to complete an employee application as a

                       prerequisite to their employment;

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              c)      Defendants made the decision not to pay overtime;

               d)     Defendants made the decision not to compensate at the FLSA minimum

                      wage rate;

              e)      Defendants provided the entertainers with music equipment and a

                      performing stage;

              f)      Defendants controlled the entertainers' music;

              g)      The dancers have made no financial investment with Defendants'

                      business;

              h)      The dancers were hired as permanent employees and worked for

                      Defendants for several years;

              i)      Defendants supervised the entertainers; and

              j)      Defendants scheduled entertainers and as such had sole control over their

                      opportunity for profit.

        77.   Defendants misclassified Plaintiffs and Class Members as independent contractors

to avoid their obligations to pay them pursuant to the FLSA.

        78.   Plaintiffs and Class Members are not exempt from the overtime and minimum

wage requirements under the FLSA.

        79.   Although Plaintiffs and Class Members were required frequently to work more

than forty (40) hours per workweek, they were not compensated at the FLSA mandated time-

and-a-half rate for hours in excess of forty (40) per workweek. In fact, they receive no

compensation whatsoever from Defendants and thus, Defendants violate the minimum wage

requirement of the FLSA. See 29 U.S.C. § 206.

        80.   Defendants' method of paying Plaintiffs in violation of the FLSA was willful and

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was not based on a good faith and reasonable belief that its conduct complied with the FLSA.

Defendants misclassified Plaintiffs with the intent to avoid paying them in accordance to the

FLSA.

        81.    Defendants have been in the exotic dancing industry for many years and are

familiar with the long line of federal cases holding that entertainers in this industry are

employees as that term is defined by the FLSA.

        82.    Defendants Charles Julian keeps employment records for Bare Assets.

        83.    Defendants Charles Julian has the ultimate authority regarding hiring and firing

employees at Bare Assets.

        84.    Defendants Charles Julian owns and operates Bare Assets.

        85.    Defendants Charles Julian created and implemented a companywide policy of

misclassifying exotic entertainers as independent contractors at Bare Assets.

                         COUNT I: VIOLATION OF 29 U.S.C.§ 207

        86.    Plaintiffs incorporate all allegations contained in paragraphs 1 through 85.

        87.    Defendants' practice of failing to pay Plaintiffs and Class Members time-and-a-

half rate for hours in excess of forty(40) per workweek violates the FLSA. 29 U.S.C. § 207.

        88.    None of the exemptions provided by the FLSA regulating the duty of employers

to pay overtime at a rate not less than one and one-half times the regular rate at which its

employees are employed are applicable to Defendants or Plaintiffs.

                        COUNT II: VIOLATION OF 29 U.S.C. 206

        89.   Plaintiffs incorporate all allegations contained in paragraphs 1 through 85.




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        90.    Defendants' practice of failing to pay Plaintiffs and Class Members at the

required minimum wage rate violates the FLSA. 29 U.S.C. § 206. In fact, Defendants do not

compensate the entertainers whatsoever for any hours worked.

        91.    None of the exemptions provided by the FLSA regulating the duty of employers

to pay employees for all hours worked at the required minimum wage rate are applicable to

Defendants or Plaintiffs.

        92.    Defendants failed to keep adequate records of Plaintiffs' and Class Members'

work hours and pay in violation of section 211(c) of the FLSA. See 29 U.S.C. § 211(c).

        93.    Federal law mandates that an employer is required to keep for three (3) years all

payroll records and other records containing, among other things, the following information:

               a)       The time of day and day of week on which the employees' work week

                        begins;

                        The regular hourly rate of pay for any workweek in which overtime

                        compensation is due under section 7(a) of the FLSA;

               c)       An explanation of the basis of pay by indicating the monetary amount

                        paid on a per hour, per day, per week, or other basis;

                        The amount and nature of each payment which, pursuant to section 7(e)

                        of the FLSA,is excluded from the "regular rate";

              e)        The hours worked each workday and total hours worked each

                        workweek;

              f)        The total daily or weekly straight time earnings or wages due for hours

                        worked during the workday or workweek, exclusive of premium

                        overtime compensation;

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               g)         The total premium for overtime hours. This amount excludes the

                          straight-time earnings for overtime hours recorded under this section;

               h)         The total additions to or deductions from wages paid each pay period

                          including employee purchase orders or wage assignments;

              i)          The dates, amounts, and nature of the items which make up the total

                          additions and deductions;

              j)          The total wages paid each pay period; and

              k)          The date of payment and the pay period covered by payment.

29 C.F.R. 516.2, 516.5.

        94.     Defendants have not complied with federal law and have failed to maintain such

records with respect to Plaintiffs and Class Members.

        95.   Because Defendants' records are inaccurate and/or inadequate, Plaintiffs and

Class Members can meet their burden under the FLSA by proving that they, in fact, performed

work for which they were improperly compensated, and produce sufficient evidence to show the

amount and extent of the work "as a matter of a just and reasonable inference." See, e.g.,

Anderson v. Mt. Clemens Pottery Co., 328 U.S. 680,687(1946).

       COUNT III: VIOLATION OF ARTICLE X,SECTION 24 OF THE FLORIDA
                              CONSTITUTION

        96.   Plaintiffs incorporate all allegations contained in paragraphs 1 through 85.

        97.   Plaintiffs, and those similarly situated employees, are/were entitled to be paid at least

the Florida minimum wage for each hour/week worked during employment with Defendants.

        98.    Specifically, Plaintiffs, and those similarly situated employees, were not paid the

proper minimum wage, as required by Article X, Section 24 ofthe Florida Constitution.

        99.   Defendants willfully failed to pay Plaintiffs, and those similarly situated employees,
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minimum wages for one or more weeks during Plaintiffs' employment contrary to Article X,

Section 24 ofthe Florida Constitution.

        100.    Although such prerequisites are unconstitutional, Plaintiffs have complied with all

statutory prerequisites to bringing her claim pursuant to Article X, Section 24 of the Florida

Constitution.

        101.    Specifically, on or about August 3, 2015, Plaintiffs Alvarado, Duhrkoff, Wilson and

Offield served Defendants with a Notice pursuant to Fla. Stats. § 448.110, on behalf of herself, and

those Servers similarly situated to Plaintiff A copy of Plaintiff's Notice Letter is attached hereto as

Exhibit E.

        102.    More than 15 days have elapsed since Plaintiffs service of their Notice on

Defendants, and Defendants have failed to make payment to Plaintiff

        103.    As a direct and proximate result of Defendants' deliberate underpayment of wages,

Plaintiffs, and those similarly situated employees, have been damaged in the loss of minimum

wages for one or more weeks of work with Defendants.

        104.    Plaintiffs are entitled to an award of damages in an amount equal to the relevant

Florida Minimum Wage, and an equal amount as liquidated damages.

        105.    Plaintiffs are entitled to an award ofreasonable attorneys' fees and costs, pursuant to

Article X, Section 24 ofthe Florida Constitution.

                       FLSA COLLECTIVE ACTION ALLEGATIONS

        106.    As part of their regular business practices, Defendants have intentionally,

willfully and repeatedly harmed Plaintiffs and Class Members by engaging in a pattern, practice,

or policy of violating the FLSA on a class wide basis, as described above.



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        107.   Although Defendants permitted and/or required FLSA Class Members to work in

excess of forty (40) hours per workweek, Defendants have denied them full compensation for

their hours worked over forty. Defendants have also denied them full compensation at the

federally mandated minimum wage rate.

        108.   Class Members perform or have performed the same or similar work as Plaintiffs.

In particular, Plaintiffs and Class Members all worked as entertainers under the same conditions

and subject to the same violations of the FLSA.

        109.   Many FLSA Class Members regularly work or have worked in excess of forty

(40) hours during a workweek.

        110.   Defendants have classified and continue to classify FLSA Class Members as

independent contractors.

        111.   FLSA Class Members are not exempt from receiving overtime pay and/or

minimum wage at the federally mandated minimum wage rate under the FLSA.

        112.   As such, FLSA Class Members are similar to Plaintiffs in terms ofjob duties, pay

structure, misclassification as independent contractors and/or the denial of overtime and

minimum wage.

        113.   Defendants' failure to pay overtime compensation and hours worked at the

minimum wage rate required by the FLSA results from generally applicable policies or practices,

and does not depend on the personal circumstances of the Class Members.

        114.   The experiences of Plaintiffs, with respect to their pay, are typical of the

experiences of FLSA Class Members.

        115.   The experiences of Plaintiffs, with respect to their job duties, are typical of the

experiences of Class Members.

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        116.   The specific job titles or precise job responsibilities of each Class Member does

not prevent collective treatment.

        117.   All Class Members, irrespective of their particular job requirements, are entitled

to overtime compensation for hours worked in excess of forty during a workweek.

        118.   All Class Members, irrespective of their particular job requirements, are entitled

to compensation for hours worked at the federally mandated minimum wage rate.

        119.   Although the exact amount of damages may vary among Class Members, the

damages for Class Members can be easily calculated by a formula. The claims of all Class

Members arise from a common nucleus of facts. Liability is based on a systematic course of

wrongful conduct by Defendants that caused harm to all Class Members.

        120.   The    Plaintiffs    and   the   Class   Members      held   the   same   job   title:

Dancers/Entertainers and massage girls.

        121.   The Defendants have classified all of its entertainers as independent

contractors/licencees from August 3, 2010 to present.

        122.   The individually named Defendant instituted, permitted, and/or required the

policy and practice of classifying all entertainers at Robo Enterprises, Inc., d/b/a Bare Assets as

independent contractors.

        123.   The individually named Defendant instituted, permitted, and/or required the

policy and practice of charging all entertainers at Robo Enterprises, Inc., d/b/a Bare Assets a

house fee.

        124.   The individually named Defendant instituted, created, and/or permitted the policy

and practice of requiring all entertainers at Robo Enterprises, Inc., d/b/a Bare Assets to tip out

staff including the DJ, valet, security, house mom and floor host.

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        125.   As such, the FLSA Class of similarly situated Plaintiffs is properly defined as

follows:

        The FLSA Class Members are all of Defendants' current and former exotic
        dancer/entertainers who worked at Robo Enterprises, Inc., d/b/a Bare Assets
        at any time during the three years before this Amended Complaint was filed
        up to the present.

                        FLORIDA CLASS ACTION ALLEGATIONS

        126.   Plaintiffs sue on their own behalf and on behalf of a class of persons under Rules

23(a),(b)(2) and (b)(3) of the Federal Rules of Civil Procedure.

        127.   Plaintiffs bring their Florida Minimum Wage Claims on behalf of all persons who

were employed by Defendants at any time since August 2010, to the entry ofjudgment in this case

(the "Florida Class Period"), who were entertainers and who have not been paid at least the

applicable Florida Minimum Wage for hours/weeks worked, as required, in violation of Article X,

Section 24 ofthe Florida Constitution (the "Florida Class").

        128.   The persons in the Florida Class identified above are so numerous that joinder of all

members is impracticable. Although the precise number of such persons is unknown, and the facts

on which the calculation of that number are presently within the sole control of the Defendants, upon

information and belief, there are between 200 to 500 members of the Florida Class during the

Florida Class Period.

        129.   The claims of Plaintiffs are typical of the claims of the Florida Class, and a class

action is superior to other available methods of fair and efficient adjudication of the controversy - -

particularly in the context of wage and hour litigation where individual plaintiffs lack the financial

resources to vigorously prosecute a lawsuit in federal court against corporate defendants.




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        130.   The Defendants have acted or refused to act on grounds generally applicable to the

class, thereby making appropriate final injunctive relief or corresponding declaratory relief with

respect to the class as a whole.

        131.   Specifically, Defendants illegally misclassified all of their exotic entertainer

employees, including Plaintiffs as independent contractors and failed to pay them minimum wages

as mandated by Article X, Section 24 ofthe Florida Constitution.

        132.   Application of this policy or practice does/did not depend on the personal

circumstances of Plaintiffs or those joining this lawsuit. Rather, the same policy or practice

which resulted in the non-payment of minimum wages to Plaintiffs applied and continues to

apply to all class members. Accordingly, the "Florida Class Members" are properly defined as:

        All of Defendants' current and former exotic dancers/entertainers who
        worked at a Robo Enterprises, Inc., d/b/a Bare Assets at any time during the
        five (5) years before this Amended Complaint was filed up to the present.

        133.   Plaintiffs are committed to pursuing this action and have retained competent counsel

experienced in employment law and class action litigation.

        134.   Plaintiffs have the same interests in this matter as all other members of the Florida

class and Plaintiffs' claims are typical of the Florida Class.

        135.   There are questions of law and fact common to the Florida Class which predominate

over any questions solely affecting the individual members of the Class, including but not limited to:

        a.     whether the Defendants employed the members of the Florida Class within the

        meaning of Article X, Section 24 ofthe Florida Constitution;

        b.     whether the Defendants failed to keep true and accurate time records for all hours

      worked by Plaintiffs and members of the Florida Class;



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        c.      what proof of hours worked is sufficient where employers fail in their duty to

      maintain time records;

        d.      whether Defendants misclassified their entertainer employees as independent

      contractors;

        e.      whether Defendants failed and/or refused to pay the members of the Florida Class at

     least the Florida Minimum Wage in one of more workweeks;

        f.      whether the Defendants are liable for all damages claimed hereunder, including but

      not limited to, costs, disbursements, and attorney's fees; and

        g.      whether the Defendants should be enjoined from such violations of Article X,Section

      24 ofthe Florida Constitution in the future.

                                         JURY DEMAND

        136.    Plaintiffs and Class Members hereby demand a trial by jury.

                                     PRAYER FOR RELIEF

        137.    For these reasons, Plaintiffs, FLSA Class Members and Florida Class Members,

respectfully request that judgment be entered in their favor awarding the following relief:

             a. Certification of this action as a class action pursuant to Fed. R. Civ. P. 23(b)(2) and

                (3) on behalf of the members of the Florida Class and appointing Plaintiffs and their

                counsel to represent the Class;

             b. Designation of this action as a collective action on behalf of the Collective Action

                Members and prompt issuance of notice pursuant to 29 U.S.C. § 216(b) to all

                similarly situated members of an FLSA Opt-In Class, appraising them of the

                pendency of this action, permitting them to assert timely FLSA claims in this action



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                  by filing individual Consents to Sue pursuant to 29 U.S.C. §216(b) and appointing

                  Plaintiffs and their counsel to represent the Collective Action members;

             c. Declaring, pursuant to 29 U.S.C. §§2201 and 2202, that the acts and practices

                  complained of herein are in violation of the maximum hour and minimum wage

                  provisions of the FLSA, and Article X,Section 24 ofthe Florida Constitution;

             d. Overtime compensation for all hours worked over forty in a workweek at the

                  applicable time-and-a-half rate;

             e. All unpaid wages and overtime compensation due under the FLSA;

             f. All unpaid wage and overtime compensation due under Article X, Section 24 of

                  the Florida Constitution;

             g. All unpaid minimum and overtime wages in accordance with the law mentioned

                  herein;

             h. All misappropriated tips;

             i.   All misappropriated funds that were labeled as fees or otherwise;

             j. An equal amount of all owed wages and misappropriated funds and tips as

                  liquidated damages as allowed under the FLSA;

             k. An equal amount of all owed wages and misappropriated funds and tips as

                  liquidated damages as allowed under Article X, Section 24 of the Florida

                  Constitution;

             1. Reasonable attorney's fees, costs and expenses of this action as provided by the

                  FLSA; and




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             m. Such other relief to which Plaintiffs and Class Members may be entitled, at law or

                in equity.

Dated: October 27, 2015



                                                                   Respectfully submitted,

                                                                       /s/ Jack C. Mor an III
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                                                                   Florida Bar No. 126527
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                                                                   Florida Bar No. 98552
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                                                                   Attorneys in Chargefor Plaintiffs and
                                                                   Class Members

                                         CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 27th day of October, 2015, I electronically filed the foregoing with
the Clerk of the Court by using CM/ECF system.



                                                                  By:     /s/ Jack Morgan

                                                                          Jack C. Morgan, Esquire
                                                                          Florida Bar No. 0126527




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